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                 EXHIBIT 3

   FILED UNDER SEAL
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                                                                      Page 1
                UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF CALIFORNIA
                  SAN FRANCISCO DIVISION




 WAYMO LLC,                           )
                   Plaintiff,         )
          vs.                         ) Case No.
 UBER TECHNOLOGIES, INC.,             ) 3:17-cv-00939-WHA
OTTOMOTTO LLC; OTTO                   )
 TRUCKING LLC,                        )
                    Defendants.       )
                                      )


     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY


       VIDEOTAPED DEPOSITION OF SCOTT BOEHMKE
                 San Francisco, California
                  Monday, April 17, 2017
                          Volume I




Reported by:
SUZANNE F. GUDELJ, CSR No. 5111
Job No. 2596382


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                                                                            Page 58
 1 were envisioning placing edge-emitting lasers around

2    the curved edge of a PCB?

 3        A     It does not say that in this document.

4         Q     Okay.

5         A     This document was to demonstrate

 6   positioning multiple lasers on a board that were the

7    lines shown in the graphs.

8         Q     What lines?

 9        A     These lines (indicating).

10        Q     And after you came up with what's in

11   Exhibit G, what did you -- what did you do with this

12 information?

13        A     So this information was the plan B which

14   was not pursued after going through commercial

15   third-party efforts with

16        Q     And plan A was

17   A    Mm-hmm.

18        Q     Plan B was -- did it have a name other than

19   plan B?

20        A     It turned into Fuji.

21        Q     And then what was plan C?

22        A     Plan C was the Spider.

23        Q     Okay. Was there a plan D?

24        A     Not by name.

25        Q     What does that mean, "not by name"?
